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Case 1:03-cv-11111-DKW-KJM

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

IN RE: ESTATE

OF FERDINAND E. MARCOS

DEFENDANT

HUMAN RIGHTS LITIGATION

“ocker no.MDL_840_
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by Vicente P. Ladlad

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DATE NR. PROCEEDINGS
1999
Apr 12 2850 PROOF of Claim Form For Disappearance Victims by Maria Labong by Resita Labong
2851 | PROOF of Claim Form For Disappearance Victims by Jusip Edosma by Rosita Edosma
2852 | PROOF of Claim Form For Disappearance Victims by Benito Sipsip by Ciriaca C.
Sipsip
2853 | PROOF of Claim Form For Disappearance Victims by Benit Sipsip by Ciriaca C.
Sipsip
2854 PROOF of Claim Form For Disappearance Victims by Rodolfo B. Ganas by Segundo
Ganas
2855 | PROOF of Claim Form For Disappearance Victims by Danilo Gonzales by Lydia
Gonzales
2856 | PROOF of Claim Form For Disappearance Victims by Vorgillo D. Factoran by Melinda
Factoran
2857 | PROOF of Claim Form For Disappearance Victims by Rodolfo C. Ramos by Teresita M.
Ramos
2858 | PROOF of Claim Form For Disappearance Victims by Jocelyn Francisco
2859 | PROOF of Claim Form For Disappearance Victims by Manuel F. Ontong by Victor F.
Ontong
2860 | PROOF of Claim Form For Disappearance Victims by Rogelio Bacsal by Rosario Bacgal
2861 | PROOF of Claim Form For Disappearance Victims by Tito Abantao, Sr.
2862 | PROOF of Claim Form For Disappearance Victims by Roberto L. Cadiang
2863 | PROOF of Claim Form For Disappearance Victims by Armando L. Mendoza by Gregoria
Lano Mendoza . ,
2864 | PROOF of Claim Form For Disappearance Victims by Armando L. Mendoza by Gregoria L’
Mendoza :
2865 | PROOF of Claim Form For Disappearance Victims by Sofina Lipante by Liza Lipante
2866 | PROOF of Claim Form For Disappearance Victims by Sofina Aunes Lipante by Liza :
Lipanta Belohan I
2867 | PROOF of Claim Form For Disappearance Victims by Renato Lago Bucag by Jorgia
Bucag Inido
2868 | PROOF of Claim Form For Disappearance Victims by Renato Lago Bucag by Jorgia
Bucag Inido
2869 | PROOF of Claim Form For Disappearance Victims by Renato Lago Bucag by Jorgia
Bucag Inido
2870 | PROOF of Claim Form For Disappearance Victims by Mariano Velasco Laxa by Jovita
B. Valiente
2871; PROOF of Claim Form For Disappearance Victims by Edison M. Taure by Zenaida T.
Bacsa ,
2872 | PROOF of Claim Form For Disappearance Victims by Dolores L. Pineda by David L.
Pineda
2873 | PROOF of Claim Form For Disappearance Victims by Pangandamen Abedin by Kandalaga
Abas Yda de Abedin
2874, PROOF of Claim Form For Disappearance Victims by Dominador R. Nogoy, Sr. by
Lourdes Nogoy
2875 PROOF of Claim Form For Disappearance Victims by Ramon P. Mabanag
2876 | PROOF of Claim Form For Disappearance Victims by Eliseo L. Cadiang
2877 | PROOF of Claim Form For Disappearance Victims by Damiana Y. Cadiang
2878, PROOF of Claim Form For Disappearance Victims by Estelita B. Miras
2879 PROOF of Claim Form For Disappearance Victims by Bernardo Q. Buntag, Sr. by
Magdalena S. Buntag
2880 PROOF of Claim Form For Disappearance Victims by Maria Leticia Pascual-Ladlad

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS "HUMAN RIGHTS LITIGATION

pocket No: MDL 840 |

PAGEL22 oF PAGES

DATE NR. PROCEEDINGS
1999
Apr 12 | 2881 | PROOF of Claim Form For Disappearance Victims by Marcial L. Ignacio

2882 . PROOF of Claim Form For Disappearance Victims by Dalmacio Satur

2883 | PROOF of Claim Form For Disappearance Victims by Conchita G. Ramiento

2884 PROOF of Claim Form For Disappearance Victims by Godofredo V. Quirao

2885 | PROOF of Claim Form For Disappearance Victims by Manap Blah by Mila Blah

2886 PROOF of Claim Form For Disappearance Victims by Cosme G. Arcasitas by Modesto
R. Arcesitas

2887 PROOF of Claim Form For Disappearance Victims by Karim Dumana by Fatima Dumana

2888 | PROOF of Claim Form For Disappearance Victims by Bai Kubaid P. Masukat

2889 | PROOF of Claim Form For Disappearance Victims by Ricardo V. Magdayao by Gaudioso
C. Magdayo

2890 , PROOF of Claim Form For Disappearance Victims by Antonio Rivera by Alda Q. Rivera

2891 PROOF of Claim Form For Disappearance Victims by Hasah Blah by Norma Blah

2892 PROOF of Claim Form For Disappearance Victims by Reynaldo L. Yandoc by Erlinda
P Tandoc

2893 PROOF of Claim Form For Summary Execution Victims by Copia V. Constancio by
Copia Crisanto

2894 PROOF of Claim Form For Summary Execution Victims by Ludwina Garcia E. Rodriguez

by Fermin P. Rodriguez

2895 PROOF of Claim Form For Summary Execution Victims by Ricardo W. Biag, Sr. by
Norma C. Biag

2896 | PROOF of Claim Form For Summary Execution Victims by Maitumalaga Guintao Balao by
Norma A. Mohammad

2897 | PROOF of Claim Form For Summary Execution Victims by Mustapha Balao Amella by
Norma A. Mohammad

2898 | PROOF of Claim Form For Summary Execution Victims by Usman Caupal Amella by
Norma A. Mohammad

2899 | PROOF of Claim Form For Summary Execution Victims by Simeon S. Carreon by
Esperanza R. Garreon

2900 | PROOF of Claim Form For Summary Execution Victims by Rumulo B. Dulva by Juvita
Duiva

2901 | PROOF of Claim Form For Summary Execution Victims by Jorlan Y. Granadillos by
Adela Y. Granadillos

2902 | PROOF of Claim Form For Summary Execution Victims by Jose Elegane Dolorose by
Candelaria D. Doloroso

2903 PROOF of Claim Form For Summary Execution Victims by Rogelio Abaincia Abegonia by
Remedios Abaincia Abegonia

2904 | PROOF of Claim Form For Summary Execution Victims by Adriano L. Ortega by Lorna
Ortega Aclag :

2905 | PROOF of Claim Form For Summary Execution Victims by Clodualdo Bollido, Jr. by
Rosemarie Bollido

2906 | PROOF of Claim Form For Summary Execution Victims by Nonillo Balingbingan by
Dionesio Balingbingan

2907 | PROOF of Claim Form For Summary Execution Victims by Jacosof Arcinio by Estilita
Abanag

2908 | PROOF of Claim Form For Summary Execution Victims by Terencio J. Jamorol

2909 | PROOF of Claim Form For Summary Execution Victims by Francisco Cabello by Lolita
Cabello

2910 | PROOF of Claim Form For Summary Execution Victims by Santiago T. Magbutay by

Marita T. Magtubay

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PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS

OEFENDANT

HUMAN RIGHTS LITIGATION

pocket no, MDL 840

Pace 123r PAGES

DATE NR. PROCEEOINGS
1999
Apr 12 (2911 | PROOF of Claim Form For Summary Execution Victims by Manuel Salvador by Remegio

Salvador

2912 | PROOF of Claim Form For Summary Execution Victims by Jose Aclag by Julito Aclag

2913 | PROOF of Claim Form For Summary Execution Victims by Cecilio Mabute by Alicia
Mabute

2914 | PROOF of Claim Form For Summary Execution Victims by Alivino C. Tablatin by
Maximino Tablatin, Jr.

2915 | PROOF of Claim Form For Summary Execution Victims by Jacinto Bacuetes by Amancio
Bacuetes

2916 | PROOF of Claim Form For Summary Execution Victima by Marlon Aquino Latina by
Marlito Aquino Latina

2917 . PROOF of Claim Form For Summary Execution Victims by Maurecie Anugot by Teodinero

i Anugot :

2918 | PROOF of Claim Form For Summary Execution Victims by Anacito N. Abaigar by
Melchor N. Abaigar

2919 | PROOF of Claim Form For Summary Execution Victims by Tiburico Abregana

2920 | PROOF of Claim Form For Summary Execution Victims by Eutecio Anugot by Teodinero
Anugot

2921 | PROOF of Claim Form For Summary Execution Victims by Teofilo Anugot by Teodinero
Anugot .

2922 | PROOF of Claim Form For Summary Execution Victims by Cesoria Anuget by Teodinero
Anugot

2923 | PROOF of Claim Form For Summary Execution Victims by Welito Anugot by Teodinero
Anugot

2924 | PROOF of Claim Form For Summary Execution Victims by Marelyn Anugot by Teodinero
Anugot

2925 | PROOF of Claim Form For Summary Execution Victims by Dalmacio Recido by Leonicia
Recido

2926 PROOF of Claim Form For Summary Execution Victims by Esteman Casas Aragon by
Felicitas Aragon

2927 | PROOF of Claim Form For Summary Execution Victims by Francisco Cabrales by
Myrna C. Gabol

2928 | PROOF of Claim Form For Summary Execution Victims by Angelito C. Hinlo by
Honorata P. Hinlo

2929 | PROOF of Claim Form For Summary Execution Victims by Rustico Oclima by Melba L.
Oclima

2930 | PROOF of Claim Form For Summary Execution Victimea by Rasid Balao Amella by
Norma A. Mohammad

2931 | PROOF of Claim Form For Summary Execution Victims by Adelaida M. Dumogho by
Teodoro Mordane

2932 ; PROOF of Claim Form For Summary Execution Victima by Elizabeth Jacosol by Aurora
Jacosol

2933 | PROOF of Claim Form For Summary Execution Victims by Roberto M. Macadangdang by
Elpidio C. Macadangdang

2934 | PROOF of Claim Form For Summary Execution Victims by Felix B. Monte, Sr. by Coraz
A. Monte

2935 : PROOF of Claim Form For Summary Execution Victims by Dionisio A. Gamale

2936 | PROOF of Claim Form For Summary Execution Victims by Carlos §. Bugay by Adoracion
G. Bugay

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT
- pockeT no. _MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
Pace l24or_ PAGES
DATE NR. PROCEEDINGS
1999
Apr 12 2937 | PROOF of Claim Form For Summary Execution Victims by Alexander A. Belone, II by
Victoria A. Belone
2938 | PROOF of Claim Form For Summary Execution Victims by Lino C. Ragasano by Cipriano
G. Buniel
2939 | PROOF of Claim Form For Summary Execution Victims by Raul L. Reyes by Cirpiano
G. Buniel
2940 | PROOF of Claim Form For Summary Execution Victims by Terencio Jamoral
2941; PROOF of Claim Form For Summary Execution Victims by Cecilio Cabnito by Bernabe
A. Cabrito
2942 | PROOF of Claim Form For Summary Execution Victims by Vicencio A. Pacayra by
Buenaventura Pacayra
2943 | PROOF of Claim Form For Summary Execution Victims by Antonio Gabinay by Virginia
Gabinay
2944 | PROOF of Claim Form For Summary Execution Victims by Florencio B. Palleta by
Merlyn B. Pacleta
2945 | PROOF of Claim Form For Summary Execution Victims by Guillermo Bacsal by Domingo
D. Bacsal, Jr.
2946 | PROOF of Claim Form For Summary Execution Victims by Plaridel E. Ramos by Ricardo
, E. Ramos, Jr.
2947 | PROOF of Claim Form For Summary Execution Victims by Constancio P. Cabael by
Agapita C. Igdalino
2948 | PROOF of Claim Form For Summary Execution Victims by Conrado G. Aquino, Jr. by
Romulo G. Aquino
2949 | PROOF of Claim Form For Summary Execution Victims by Domingo Sapitin by Tingza
Gloria Sapitin
2950 | PROOF of Claim Form For Summary Execution Victims by Jesus FP. Mabansag by Ceriaco
5. Mabansag
2951 ) PROOF of Claim Form For Summary Execution Victims by Ernesto Balingbingan by
Dionesio Balingbingan
2952 | PROOF of Claim Form For Summary Execution Victims by Lorenzo D. Bacuetes by
Consolascion M. Bacuetes
2953 | PROOF of Claim Form For Summary Execution Victims by Juana Bacuetes by Amando
Bacuetes
2954 | PROOF of Claim Form For Summary Execution Victims by Fernando Quelaton by
Patrotcencia Quelaton Mabao
2955 | PROOF of Claim Form For Summary Execution Victims by Eglecerio Jabulin by Aurora
B. Jabulin
2956) PROOF of Claim Form For Summary Execution Victims by Eusebio Daclag by Francisca
Daclag
2957 | PROOF of Claim Form For Summary Execution Victims by Pedro Racana by Helen
Recana
2958 | PROOF of Claim Form For Summary Execution Victims by Leon Dagdag by Hany Dagdag
2959 | PROOF of Claim Form For Summary Execution Victims by Marites Anugot by Teadinero
Anugot
2960 | PROOF of Claim Form For Summary Execution Victims by Glenn Rosauro 5. Macapinlac
by Ruben M. Macapinlac
2961 | PROOF of Claim Form For Summary Execution Victims by Jose Q. Pineda by Magdalena
Vda De Pineda
2962 ; PROOF of Claim Form For Summary Execution Victims by Cresencia Lumanlan

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT i
| DOCKET NO.
IN RE: ESTATE OF FERDINAND E. MARCOS] HUMAN RIGHTS LITIGATION MDL 840
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DATE NR. PROCEEDINGS
1999
Apr 12 | 2963. PROOF of Claim Form For Summary Execution Victims by Ebelio T. Osorio by

Felicisima L. Osorio

2964 | PROOF of Claim Form For Summary Execution Victims by Roberto Robert Lopez by
Eraciano Lopez

2965 | PROOF of Claim Form For Summary Execution Victims by Edward Oliver L. De La
Fuente by Lucy Lahaylahay De La Fuente

2966 | PROOF of Claim Form For Summary Execution Victims by Eduardo E. Hinay by Concepei
E. Hinay

2967 PROOF of Claim Form For Summary Execution Victims by Emerito A. Guizon by Fausta
A. Vda De Cuizon

2968 PROOF of Claim Form For Summary Execution Victims by Jessie Castillo by Jose Cast

2969 | PROOF of Claim Form For Summary Execution Victims by Gregorio B. Espinas, Jr. by
Milagros Ragos Espinas

2970 | PROOF of Claim Form For Summary Execution Victims by Jaime Basal by Virginia B.
Moreno

2971 PROOF of Claim Form For Summary Execution Victims by Remberto Alcantara De La Paz
by Sylvia Clorin De La Paz

2972 | PROOF of Claim Form For Summary Execution Victims by Edgardo Revocal by Josefina
Revocal

2973 | PROOF of Claim Form For Summary Execution Victims by Felipe Go by Saturtino V. Go

2974 | PROOF of Claim Form For Summary Execution Victims by Demetrio Guarino by Victorin
Guarino

2975 | PROOF of Glaim Form For Summary Execution Victims by Demetrio Guarino by Victorin
Guarino

2976 | PROOF of Claim Form For Summary Execution Victims by Joey B. Cama by Elena B.
Cama

2977 | PROOF of Claim Form For Summary Execution Victims by Carlos Hermogeno by Maximo
Hermogena

2973) PROOF of Claim Form For Summary Execution Victims by Eduardo M. Bayani by Estela
U. Bayani

2979 | PROOF of Claim Form For Summary Execution Victims by Cosme G. Arcasitas by
Modesto R. Arcasitas

2980 | PROOF of Claim Form For Summary Execution Victims by Pepito L. Ocheran by
Gregoria L. Decheran

2981 | PROOF of Claim Form For Summary Execution Victims by Gil Z. Sicat by Raquel Z. Si

2982 | PROOF of Claim Form For Summary Execution Victims by Mario Sale Cristines by
Eustaquio 8. Cristines

2983 | PROOF of Claim Form For Summary Execution Victims by Gualberteo M. Pesminila by
Leoniza D. Pesminila

2984 | PROOF of Claim Form For Summary Execution Victims by Gualberto M. Pesminila, Sr.
by Leonoza D. Pesminila

2985 | PROOF of Claim Form For Summary Execution Victims by Rogelio H. Miranda by Virgin
Miranda

2986 | PROOF of Claim Form For Summary Execution Victims by Jesus de la Cruz by Caridad
de la Cruz

2987 | PROOF of Claim Form For Summary Execution Victims by Noel Cerruda Tierra by
Norberto L. Tierra :

2988 | PROOF of Claim Form For Summary Execution Victims by Anastacio A. Rivera, Jr. by
Anastacio D. Rivera, Sr.

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CIVIL DOCKE CONTINUATION SHEET
PLAINTIFE DEFENDANT

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

| DOCKET NO. MDL 840 _

| PAGE 126or PAGES
DATE NR PROCEEDINGS
1999
Apr 12 2989 | Statement by Narciso Dimacutac
2990 | Statement by Eduardo Calapiz
2991 | Statement by Juan Gumolon
2992 | Statement by Emma R. Vda De Berioso
2993 | Statement by Franklin M. Nerez
2994 Statement by Demetria Vda De Berioso
2995 | Statement by Vicente P. Ladiad
2996 | Statement by Flurencia Puntalan
2997 | Statement by Niall O'Brien
2998 | Statement by Cecilia Rivas Galapin
2999 | Amended NOTICE of MOTION and Motion For Attorneys’ Fees and Executive Committee
Fees - on behalf of Buncio/Fabic/Socco Plaintiffs - set for 4/29/99 at 10:00
a.m., Real - [Relates to All Actions]
13 3000 | ORDER Granting Defendants' Motion to Strike Request to Reqrite Settlement
Agreement ~ on behalf of Estate of Ferdinand E. Marcos - [Cv 86-330, 86-390]
REAL
| 3001 | MEMORANDUM In Opposition To Request For Attorneys’ Fees - on behalf of Estate of
Ferdinand E. Marcos ~- [Cv 86-330, 86-390]
3002 PROOF of Claim Form For Torture Victims by Silverio Panosa
3003 | PROOF of Claim Form For Torture Victims by Leonarda FP. Cagbabanua
3004 PROOF of Claim Form For Torture Victims by Julio P. Cagbabanua
3005 | PROOF of Claim Form For Torture Victims by Ricardo C. Calaguan
3006 | PROOF of Claim Form For Torture Victims by Manuel F. Bazan
3007 | PROOF of Claim Form For Torture Victims by Basilio C. CGalaguan
3008 | PROOF of Claim Form For Torture Victims by Nenita C. Galapaz
3009 | PROOF of Claim Form For Torture Victims by Uldarico G. Salac
3010 | PROOF of Claim Form For Torture Victims by Andres C. Luta
3011 | PROOF of Claim Form For Torture Victims by Marcelino B. Perez, Deceased by
Veronica §. Perez
3012 | PROOF of Claim Form For Torture Victims by Ricardo R. Valerio, Jr.
3013 | PROOF of Claim Form For Torture Victims by Jesus Desaliza, Sr.
3014 | PROOF of Claim Form For Torture Victims by Ignacio Manalang, Deceased by Lliadora
C. Manalang
3015 | PROOF of Claim Form For Torture Victims by German 5, ITlagan
3016 | PROOF of Claim Form For Torture Victims by Benito Artagame, Deceased by Leonilo
A. Artagme
3017 | PROOF of Claim Form For Torture Victims by Estanislao Sambiog
3018 | PROOF of Claim Form For Torture Victima by Ricardo Balioran
3019 | PROOF of Claim Form For Torture Victims by Jacinto R. Clasang
3020 PROOF of Claim Form For Torture Victims by Christopher T. Lagorra, Sr.
3021 | PROOF of Claim Form For Torture Victims by Rodrigo J. Cardona
3022 | PROOF of Claim Form For Torture Victims by Conrado G. Moderazo
3023 PROOF of Claim Form For Torture Victims by Conrado G. Moderazo
3024 | PROOF of Claim Form For Torture Victims by Marcelino R. Delandiana
3025 PROOF of Claim Form For Torture Victims by Pio Pino
3026 | PROOF of Claim Form For Torture Victims by Juan A. Casipong
3027 | PROOF of Claim Form For Torture Victims by Cereal Bongeac
3028 | PROOF of Claim Form For Torture Victims by Benedicto C. Antofina
3029 | PROOF of Claim Form For Torture Victims by Caridad A. Afabie
3030 | PROOF of Claim Form For Torture Victims by Sanito L. Mendoza

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket no, MDL 840 _
IN RE: ESTATE OF FERDINAND E. MARCOS| HUMAN RIGHTS LITIGATION
PAGEL27oF____ Paces
DATE NR. PROCEEDINGS
1999
Apr 13 3031); PROOF of Claim Form For Torture Victims by Demetrio O. Latorre
3032 | PROOF of Claim Form For Torture Victims by Eduardo B. Latorre
3033 | PROOF of Claim Form For Torture Victims by Pablo Fabroa Trumata
3034 | PROOF of Claim Form For Torture Victims by Wilfredo Alimpolos
3035 PROOF of Claim Form For Torture Victims by Vecente Maroles, Deceased by Adora
Nimfa
3036 PROOF of Claim Form For Torture Victims by Fernando T. Andrada
3037 | PROOF of Claim Form For Torture Victims by Ruben Honrade Tabuena
3038} PROOF of Claim Form For Torture Victims by Cristobal Mabait
3039 | PROOF of Claim Form For Torture Victims by Alejandro C. Tabontabon
3040 | PROOF of Claim Form For Torture Victims by Pacito Oliveron
3041 PROOF of Claim Form For Torture Victims by Restituto Alea Voloso, Jr.
3042) PROOF of Claim Form For Terture Victims by Vicente C. Abalos, Deceased by
Estanislao A. Cabanere
3043 | PROOF of Claim Form For Torture Victims by Marcial C. Camarillo
30441 PROOF of Claim Form For Torture Victims by Gloria B. Calvadores
3045 | PROOF of Claim Form For Torture Victims by Jesus C. Bernandino
3046 | PROOF of Claim Form For Torture Victims by Nicomedes Esperanzate
3047 | PROOF of Claim Form For Torture Victims by Arturo Guan
3048 | PROOF of Claim Form For Torture Victims by Lalaine Blanco Yorong
3049} PROOF of Claim Form For Torture Victims by Romy S. Duran
3050 | PROOF of Claim Form For Torture Victims by Eufemia G. Hijos
3051; PROOF of Claim Form For Torture Victims by Mario B. Cagbabanua
3052 , PROOF of Claim Form For Torture Victims by Reynior Nueva
3053 | PROOF of Claim Form For Torture Victims by Wenifred Nicolas
3054 | PROOF of Claim Form For Torture Victims by Erelio Mateo
3055 | PROOF of Claim Form For Torture Victims by Loreto §. Fernandez
3056 | PROOF of Claim Form For Torture Victims by Raymundo V. Ramil
3057 |) PROOF of Claim Form For Torture Victims by Benecid Rapgalado and Marefe Regalado,
Deceased by Julieta S. Ragalado
3058 | PROOF of Claim Form For Torture Victims by Eduardo Javinar
3059 | PROOF of Claim Form For Torture Victims by Felipe Barachita, Deceased by Walter
Barachita
3060; PROOF of Claim Form For Torture Victims by Flores Delose Alcario
3061 | PROOF of Claim Form For Torture Victims by Victorino E. Borilla
3062 | PROOF of Claim Form For Torture Victims by Luis Polo, Deceased by Amanda Polo
3063 | PROOF of Claim Form For Torture Victims by Arcangel Polo, Deceased by Erlinda Polk
3064 | PROOF of Claim Form For Torture Victims by Modesto Polo
3065 | PROOF of Claim Form For Torture Victims by Danilo E. Hije, Sr.
3066; PROOF of Claim Form For Torture Victims by Victoriano $. Janoras, Deceased by
Cesar B. Janoras
3067 | PROOF of Claim Form For Torture Victims by Fredo G. Marquez
3068 | PROOF of Claim Form For Torture Victims by Agosto Suyon, Deceased by Langbay Suyo;
3069 | PROOF of Claim Form For Torture Victims by Romeo Cantada
3070! PROOF of Claim Form For Torture Victims by Arturo P. Caybabanua
3071; PROOF of Claim Form For Torture Victims by Leoanrdo Leoncito
3072 | PROOF of Claim Form For Torture Victims by Diosdado Tacalan, Deceased by
Marcelina Tacalan
3073 | PROOF of Claim Form For Torture Victims by Nonito G. Jazareno
3074 | PROOF of Claim Form For Torture Victims by Harrison P. Cagbaganoa

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PLAINTIFF

IN RE: ESTATE

OF FERDINAND E. MARCOS

DEFENDANT

HUMAN RIGHTS LITIGATION

| DOCKET NO. _MDL 840

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PAGE 128or_ paces
7
DATE | NR, PROCEEDINGS
~ 1999
Apr 13 3075 | PROOF of Claim Form For Torture Victims by Hugo L. Orcillo, Jr.
3076 PROOF of Claim Form For Torture Victims by Ruth Lillian Dancel Escobia-Fernandez
3077 | PROOF of Claim Form For Torture Victims by Francisco V. Estodillo
3078 | PROOF of Claim Form For Torture Victims by Ronnie Dela Cruz
3079 | PROOF of Claim Form For Torture Victims by Valente U. Quintero
3080 | PROOF of Claim Form For Torture Victims by Arcadio E. Torno
3081 | PROOF of Claim Form For Torture Victims by Guida P. Taa
3082 PROOF of Claim Form For Torture Victims by Macario D. Tiu ‘
3083 | PROOF of Claim Form For Torture Victims by Rogelio V. Dacaynos
3084 | PROOF of Claim Form For Torture Victims by Segundo Obidos, Jr. , Deceased by
Rosalina R. Obidos
3085 PROOF of Claim Form For Torture Victima by Cecilio C. Gabijan
3086 PROOF of Claim Form For Torture Victims by Adriano E. Calicoy
3087 | PROOF of Claim Form For Torture Victima by Ruben Escreza
3088 | PROOF of Claim Form For Torture Victims by Luz Colindres Ravina
3089 | PROOF of Claim Form For Torture Victims by Ruben Escreza
3090 | PROOF of Claim Form For Torture Victims by Reynaldo T. Villasin
3091 | PROOF of Claim Form For Torture Victims by Ruben V. Abing
3092 | PROOF of Claim Form For Torture Victims by Geronimo A. Manuel
‘3093 | PROOF of Claim Form For Torture Victims by Primitivo M. David
3094 | PROOF of Claim Form For Torture Victims by Bernardo H. Valdez
3095 | PROOF of Claim Form For Torture Victims by Meldin Alfonso G. Roy
3096 | PROOF of Claim Form For Torture Victims by Celso F. Bernados
3097 PROOF of Claim Form For Torture Victims by Rogelio Buella
3098 PROOF of Claim Form For Torture Victims by Raul C. Mendoza
3099 | PROOF of Claim Form For Torture Victims by Cresencia Rapadas
3100 | PROOF of Claim Form For Torture Victims by Cesar Morales Sunglao, Deceased by
Allan P. Sunglao
3101 | PROOF of Claim Form For Torture Victims by Oscar L. Alvarez, Deceased by Efren
L. Alvarez
3102 | PROOF of Claim Form For Torture Victims by Roman S$. Mayuyu
3103 | PROOF of Claim Form For Torture Victims by Salem Behis
3104 | PROOF of Claim Form For Torture Victims by Eddie P. So Yongeo, Deceased by
merlita A. So Yongeo
3105 PROOF of Claim Form For Torture Victims by Manalindo Sansawi
3106 | PROOF of Claim Form For Torture Victims by Edwin Enrico
3107 | PROOF of Claim Form For Torture Victims by Feliciano E. Ruben
3108 | PROOF of Claim Form For Torture Victims by Ronaldie A. Cadajas
3109 | PROOF of Claim Form For Torture Victims by Romy $. Duran
3110 | PROOF of Claim Form For Torture Victims by Sebero Eboc, Deceased by Dianing E.
Sending
3111 | PROOF of Claim Form For Torture Victims by Lucito Aso Pacho
3112 PROOF of Claim Form For Torture Victims by Rodolfo Encarnacion
3113 | PROOF of Claim Form For Torture Victims by Rodelio D. Bandin
3114 | PROOF of Claim Form For Torture Victims by Benjamen P. Frondoza
3115 | PROOF of Claim Form For Torture Victims by Gregorio Frondoza, Deceased by Maria
P. Frondoza
3116 | PROOF of Claim Form For Torture Victims by Mercedes Bacalso Atupan
3117} PROOF of Claim Form For Torture Victims by Arthur L. Medrano
3118 | PROOF of Claim Form For Torture Victims by Isidro Gumahad
3119 | PROOF of Claim Form For Torture Victims by Pedro Amoranto, Deceased by Morena
L. Amoranto

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(Rev, 1/75}
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pecket na. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION
PAGE 12% PAGES

PROCEEDINGS

DATE NR
1999
Apr 13 3120 | PROOF of Claim Form For Torture Victims by Reynaldo E. Recto, Deceased by Bella
Recto
3121; PROOF of Claim Form For Torture Victims by Leoneda E. Recto, Deceased byBella E.
Recto

3122 | PROOF of Claim Form For Torture Victims by Rolando M. Mercado
3123 | PROOF of Claim Form For Torture Victima by Leonardo M. Manalo
3124 | PROOF of Claim Form For Torture Victims by Eugenio Edwin A. Tulalian
3125 | PROOF of Claim Form For Torture Victims by Noemi A. Casis
3126} PROOF of Claim Form For Torture Victims by Ricardo A. Doseco
3127) PROOF of Claim Form For Torture Victims by Carmelito Yparraguirre
3128 PROOF of Claim Form For Torture Victims by Mirlo Domingo Olorocisime
3129 PROOF of Claim Form For Torture Victims by Lucas B. Bringas
3130 | PROOF of Claim Form For Torture Victims by Jaime V. Pano
3131 | PROOF of Claim Form For Torture Victims by Alfredo Del Rosario
3132 | PROOF of Claim Form For Torture Victims by Juan Mabahin
3133 | PROOF of Claim Form For Torture Victima by Normita Valladohid
3134 | PROOF of Claim Form For Torture Victima by Benjamin R. De Vera
3135 | PROOF of Claim Form For Torture Victims by Alexander P. Bandong
3136 | PROOF of Claim Form For Torture Victims by Agripino C. Caneos, Jr.
3137 | PROOF of Claim Form For Torture Victims by Rogelio P. Seguido
3138; PROOF of Claim Form For Torture Victims by Fernando C. Bagasalao
3139 | PROOF of Claim Form For Torture Victims by Rebecca Delos Reyes Tulalian
3140; PROOF of Claim Form For Torture Victims by Eduardo Castillo Sabayo
3141 | PROOF of Claim Form For Torture Victims by Josefino M. Cellano
3142 | PROOF of Claim Form For Torture Victims by Victor J. Sabanal
3143) PROOF of Claim Form For Torture Victims by Estanislac A. Cabanero
3144 | PROOF of Claim Form For Torture Victims by Artemio Sarmiento
3145 | PROOF of Claim Form For Torture Victims by Jorge E. Flores
3146 | PROOF of Claim Form For Torture Victims by Florentina Acabo
3147 | PROOF of Claim Form For Torture Victima by Angel Orculo
3148 PROOF of Claim Form For Torture Victims by Dominador Macapagat
3149 | PROOF of Claim Form For Torture Victims by Melqiuades Aljas
3150 | PROOF of Claim Form For Torture Victims by Jose Magiangit
3151 | PROOF of Claim Form For Torture Victims by Aurelio A. Jasmin
3152) PROOF of Claim Form For Torture Victims by Alejandro dela Cerna
3153 | PROOF of Claim Form For Torture Victims by Lisa Salvidos
3154 | PROOF of Claim Form For Torture Victims by Juan A. Cowak
3155 | PROOF of Claim Form For Torture Victims by Lydia Lascania
3156 | PROOF of Claim Form For Torture Victims by Cayetana Maglangit
3157 | PROOF of Claim Form For Torture Victims by Romeo Salvidas
3158 | PROOF of Claim Form For Torture Victims by Donato G. Cowak
3159 | PROOF of Claim Form For Torture Victims by Antonio Genelaso
3160 | PROOF of Claim Form For Torture Victims by Eleno T. Feralino
3161 | PROOF of Claim Form For Torture Victims by Ricarda Cowak
3162 | PROOF of Claim Form For Torture Victims by Fe Oxille
3163 | PROOF of Claim Form For Torture Victims by Johnny Maglangit
3164 | PROOF of Claim Form For Torture Victims by Prudencio Unsing
3165 | PROOF of Claim Form For Torture Victims by Lucino A. Gumial
3166 | PROOF of Claim Form For Torture Victims by Vivencio G. Andong
3167 | PROOF of Claim Form For Torture Victims by Melchor H. Anguilled

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‘N RE: ESTATE OF FERDINAND E.

MARCOS HUMAN RIGHTS LITIGATION

DOCKET NO. MDL 840.

PAGEL300F___ Paces
DATE NR. PROCEEDINGS
i999
Apr 13 3168 PROOF of Claim Form For Torture Victims by Agustin A. Abad
3169 PROOF of Claim Form For Torture Victims by Teofilo Tolero
3170 (PROOF of Claim Form For Torture Victims by Felix Abil
3171 | PROOF of Claim Form For Torture Victims by Armoheno Villarosa
3172 |PROOF of Claim Form For Torture Victims by Consorcio Aguhob
3173 | PROOF of Claim Form For Torture Victims by Aaron C. Redubla
3174 | PROOF of Claim Form For Torture Victims by Benjamen E. Gasgas
3175 PROOF of Claim Form For Torture Victims by German D. Genodiala
3176 PROOF of Claim Form For Torture Victims by Augusto Almeda Lopez
3177 |PROOF of Claim Form For Torture Victims by Rogelio B. Calapiz
3178 |PROOF of Claim Form For Torture Victims by Severo Docog Ginete
3179 PROOF of Claim Form For Torture Victims by Adelfa Santoa-Cubalub
3180 |PROOF of Claim Form For Torture Victims by Eugenia P. Agana
3181 PROOF of Claim Form For Torture Victims by Efren P. Rubio, Deceased by Dominga
P. Rubio
3182 |PROOF of Claim Form For Torture Victims by Bert Lino S$. Garcia
3183 |PROOF of Claim Form For Torture Victims by Roberto Paduga
3184 (PROOF of Claim Form For Torture Victims by Roger Posadas
3185 |PROOF of Claim Form For Torture Victims by Benjamin Sarmiento
3186 | PROOF of Claim Form For Torture Victims by Bernaldo Sarmiento
3187 | PROOF of Claim Form For Torture Victims by Rolando 0. Noval, Deceased by Jose H.
Noval
3188 | PROOF of Claim Form For Torture Victims by Aurora L. Medrano
3189 PROOF of Claim Form For Torture Victims by Luz Del Rosario-Rimban
3190 | PROOF of Claim Form For Torture Victims by Mansuito Legaspina
3191 | PROOF of Claim Form For Torture Victims by Ronnie L. Sablas, Deceased by Felix B.
Sablas, Sr.
3192 |PROOF of Claim Form For Torture Victims by Danilo Monje
3193 | PROOF of Claim Form For Torture Victims by Gregorio Eco Haveria
3194 |PROOF of Claim Form For Torture Victims by Alfredo L. Mansos
3195 |PROOF of Claim Form For Torture Victime by Venerandao D. Atupan
3196 |PROOF of Claim Form For Torture Victims by Dominador C. Tlagan, Deceased by
Anunciacion P. I[lagan
3197 PROOF of Claim Form For Torture Victims by Jessie $. Patoc, Sr.
3198 |PROOF of Claim Form Fer Torture Victims by Beniana Buangas
3199 | PROOF of Claim Form For Torture Victims by Felisa T. Cristobal
3200 |PROOF of Claim Form For Torture Victims by Leonile A. Artagame
3201 PROOF of Claim Form For Torture Victims by Joel Ozarraga Jose, Deceased by
Maria Loreto Abella Lopez
3202 |PROOF of Claim Form For Torture Victims by Clodualdo R. Sabela, Deceased by
Felipe R. Sabela, Jr.
3203 | PROOF of Claim Form For Torture Victims by Fetronela Sepolo
3204 | PROOF of Claim Form For Torture Victims by Lee A. Magno
3205 |PROOF of Claim Form For Torture Victims by Arturo Villarosa
3206 |PROOF of Claim Form For Torture Victims by Alex Sumaot
3207 PROOF of Claim Form For Torture Victims by Fredie Cowak
3208 |PROOF of Claim Form For Torture Victims by Warlito dela Cernia
3209 |PROOF of Claim Form For Torture Victims by Vevencio Henelaso
3210 |PROOF of Claim Form For Torture Victims by Federito Dumanaong
3211 |PROOF of Claim Form For Torture Victims by Julian Luyo
3212 PROOF of Claim Form For Torture Victims by Ricardo Cowar
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CIVEL POCKET CONTINUATION SHEET
PLAINTIFF DEFEN GANT

IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

DOCKET NO, MDI 840 |

PAGE |310F PAGES

DATE NR. PROCEEDINGS
1999
Apr 13 3213 PROOF of Claim Form For Torture Victims by Bartolome P. Salazar

3214 | PROOF of Claim Form For Torture Victims by Federico Q. Vidad

3215 | PROOF of Claim Form For Torture Victims by Imelda A. Cabatuando

3216 | PROOF of Claim Form For Torture Victims by Bernardo Buen

3217 | PROOF of Claim Form For Torture Victims by Divina 5. Dumiagai

3218 | PROOF of Claim Form For Torture Victims by Eliseo S. Cruz

3219 | PROOF of Claim Form For Torture Victims by Conrado FP. Apura

3220 | PROOF of Claim Form For Torture Victims by Arturo Tegio, Deceased by Norma Cidro

3221 | PROOF of Claim Form For Torture Victims by Jose VB. Paras

3222 | PROOF of Claim Form For Torture Victims by Catalino M. Concepcion

3223 PROOF of Claim Form For Torture Victims by Tomas H. Mabana

3224 | PROOF of Claim Form For Torture Victims by Anmastacio R. Ramos

3225 PROOF of Claim Form For Torture Victims by Anamias Graji

3226 | PROOF of Claim Form For Torture Victims by Antonio Borromeo, Deceased by Marita
D. Borromeo

3227 | PROOF of Claim Form For Torture Victims by Ismael V. Agustin

3228 | PROOF of Claim Form For Torture Victims by Joel P. Alonsagay

3229 | PROOF of Claim Form For Torture Victims by Delfin A. Seno

3230 | PROOF of Claim Form For Torture Victims by Lucercio Bunao

3231 | PROOF of Claim Form For Torture Victims by Roque L. Aperong

3232 | PROOF of Claim Form For Torture Victims by Maria Lourdes Alcala~Badelles

3233 | PROOF of Claim Form For Torture Victims by Antonio Binas Arellano

3234 | PROOF of Claim Form For Torture Victims by Dionisio Milanio

3235 | PROOF of Claim Form For Torture Victims by Bonifacio A. Pimentel

3236 | PROOF of Claim Form For Torture Victims by Antonio A. Pimentel

3237 | PROOF of Claim Form For Torture Victims by Norberto J. Badelles Jr.

3238 | PROOF of Claim Form For Torture Victims by Bernaldo B. Umpad

3239 | PROOF of Claim Form For Torture Victims by Eddie A. Antonio

3240 | PROOF of Claim Form For Torture Victims by Iniego S. Gipalaga, Deceased by
Eliseo C. Gipalaga

3241 | PROOF of Claim Form For Torture Victims by Rodrigo A, Pimentel

3242 | PROOF of Claim Form For Torture Victims by Valentin Cabaluan Antonio

3243 | PROOF of Claim Form For Torture Victims by Vidal Franco Soriano

3244 | PROOF of Claim Form For Torture Victims by Serapio Saligumba

3245 | PROOF of Claim Form For Torture Victims by Antonio L. Alvarez, Deceased by Efren
L. Alvarez

3246 | PROOF of Claim Form For Torture Victims by Rogelio E. Tan

3247 | PROOF of Claim Form For Torture Victims by Jesus Borres

3248 | PROOF of Claim Form For Torture Victims by Armando R. Naul

3249 | PROOF of Claim Form For Torture Victims by Alfredo Rimando

3250 | PROOF of Claim Form For Torture Victims by Ricardo L. Valerio, Jr.

3251 | PROOF of Claim Form For Torture Victims by Pepito L. Serrano and Corazon C.
Serrano

3252 PROOF of Claim Form For Torture Victims by Franklin Gavino Morales

3253 | PROOF of Claim Form For Torture Victims by Jesse $. Cavida

3254 | PROOF of Claim Form For Torture Victims by Beatriz A. de Vera

3255 | PROOF of Claim Form For Torture Victims by Jovita §. Flores

3256 : PROOF of Claim Form For Torture Victims by Bernardo U. Plelago

3257 | PROOF of Claim Form For Torture Victims by Benjamin Balais, Jr.

3258 | PROOF of Claim Form For Torture Victims by Nelia BD. Aurelio

3259 | PROOF of Claim Form For Torture Victims by Agripino C. Caneos, Jr.

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFE DEFENDANT
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IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

pocket no. MDL 840

PAGE ]320F PAGES

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DATE NR. PROCEEDINGS
1999
' Apr i3 3260 |PROOF of Claim Form For Torture Victims by Marcelino Lagman
3261 |PROOF of Claim Form For Torture Victims by Jean Salamat~-Santiago
3262 PROOF of Claim Form For Torture Victims by Ricardo M. Santiago, Deceased by Jean
&. Santiago
3263 |PROOF of Claim Form For Disappearance Victima by Joel Pajalla by Nerie Pajalla
3264 |PROOF of Claim Form For Disappearance Victims by Atanascia O'Belle, Deceased by
Tiofilo O'Belle
3265 (PROOF of Claim Form For Disappearance Victims by Isidro E. Adoptante by Leonora
V. Adoptante
3266 |PROOF of Claim Form For Disappearance Victime by Eduardo S$. Talay
3267 (PROOF of Claim Form For Disappearance Victims by Madji Amina Mayasa Apolinat
3268 PROOF of Claim Form For Disappearance Victims by Lorenzo Sachico M. Cabigon/Cabigan
3269 |PROOF of Claim Form For Disappearance Victims by Conrado P. De Leon
3270 PROOF of Claim Form For Disappearance Victims by Maximino Lambayan/Antonio M. Neri
3271 (PROOF of Claim Form For Disappearance Victims by Antonio Tagbacaula Sr./Rmilio 1
3272 PROOF of Claim Form For Disappearance Victims by Edoc Tormis - Julian Sanjorig* 4
3273 |PROOF of Claim Form For Disappearance Victims by Frank H. Esparcia - Wilfredo H.
Esparcia
3274 |PROOF of Claim Form For Disappearance Victims by Sebastian Marquez Matibag (deceager
- Jose Reyes Matibag
3275 |PROOF of Claim Form For Disappearance Victims by Rolando Mait Dimaban -
- Epefania Diamban M..
3276 iPROOF of Claim Form For Disappearance Victims by Timoteo M. Oliverez -
Sotero M. Olivarez
3277 |PROOF of Claim Form For Disappearance Victims by Jesus B. Mabulac - Macaria M.
Dosal
3278 |PROOF of Claim Form For Disappearance Victims by Rene Magdadaro - Antonio M. Neri
3279 |PROOF of Claim Form For Disappearance Victims by Ernesto Dela Cruz Nazareno -
Bienvenido dela Cruz Nazareno
3280 PROOF of Claim Form For Disappearance Victims by Jorey Manguray by Antonio M. Ner#
3281 |PROOF of Claim Form For Disappearance Victims by Roger Jumanid by Antonio M. Neri
3282 [PROOF of Claim Form For Disappearance Victims by Eddie Masabot by Antonio M. Neri
3283 [PROOF of Claim Form For Disappearance Victims by ALbert (Abet) R. Enriquez by
Mario M. Enriquez
3284 |PROGF of Claim Form For Disappearance Victims by Henry Catane by Leonito R. Caburgi
3285 |PROOF of Claim Form For Disappearance Victims by Vicente M. Falcon by Mila M.
Falcon
3286 |PROOF of Claim Form For Disappearance Victims by Henry Delambar by Rogelia
De lumbar
3287 |PROOF of Claim Form For Disappearance Victims by Roger ¢. Tajonera by Feliciana
CG. Tajonera
3288 ,PROOF of Claim Form For Disappearance Victims by Arsenio Estolloso
3289 /PROOF of Claim Form For Disappearance Victims by Andres L. Tion, Deceased by
Leoncia T. Lopez
3290 |PROOF of Claim Form For Disappearance Victims by Matio Oquing by Rosita Ocuing
3291 /PROOF of Claim Form For Disappearance Victims by Adteg K. Mukalam by Kabo Mukalam
3292 |PROOF of Claim Form For Disappearance Victims by Manombok Payot by Mokamad Payat
3293 |PROOF of Claim Form For Disappearance Victims by Ebad Calon by Casie Calon
3294 |PROOF of Claim Form For Disappearance Victims by Mustapa Mucalam by Bebe E. Mucaldm
3295 |PROOF of Claim Form For Disappearance Victims by Dantog Sapli
3296 |PROOF of Claim Form For Disappearance Victims by Marcos Yag~ao
3297 |PROOF of Claim Form For Disappearance Victims by Rafael B. Epdis
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Civil DOCKET CONTINUATION SHEET

PLAINTIFF

EN RE: ESTATE

OF FERDINAND E. MARCOS!

DEFENDANT

HUMAN RIGHTS LITIGATION

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PROCEEDINGS

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DATE NR
1999
‘Apr 13 3298 | PROOF of Claim Form For Disappearance Victims by Rafael Dalunag
3299 | PROOF of Claim Form For Disappearance Victims by Miguel Atumpa
3300 | PROOF of Claim Form For Disappearance Victims by Francis Wegan
3301 | PROOF of Claim Form For Disappearance Victims by Datuan Musa
3302 PROOF of Claim Form For Disappearance Victims by Abdulsamid Kadalam
3303 | PROOF of Claim Form For Disappearance Victims by Abilosa Salimula, Maugan
Salimula and Guialel Salimula by Ibraham Salimula
3304 PROOF of Claim Form For Disappearance Victims by Radsak U. Sindatoc by Bayani
Sindatoc
| 3305 PROOF of Claim Form For Disappearance Victims by Herardo E. Balberan by Yolando
Baibira
3306 | PROOF of Claim Form For Disappearance Victims by Victor Modrigo y Dula by Arcadia
L. Modrigo
3307 | PROOF of Claim Form For Disappearance Victims by Bianvenida B. Mabulac by Macaria'
M. Bosal
3308 | PROOF of Claim Form For Disappearance Victims by Maria Gealone Germedia
3309 | PROOF of Claim Form For Disappearance Victims by Jerry Casona by Margarita Casona:
3310 | PROOF of Claim Form For Disappearance Victims by Juliana C. Isipin by Remedics
Cc. Isipin
3311) PROOF of Claim Form For Disappearance Victims by Vivencio C. Lalangan
3312 | PROOF of Claim Form For Disappearance Victims by Ernesto Vela Cruz Nazareno by i
Bienvenido dela Cruz Nazareno
3313 | PROOF of Claim Form For Disappearance Victims by Ismael Ampatuan
3314 | PROOF of Claim Form For Summary Execution Victims by Roger Agustin Mabanag by
Avelina A. Mabanag
3315 | PROOF of Claim Form For Summary Execution Victims by Candelario Barang by
Hermana B. Barang ‘
/ 3316 | PROOF cf Claim Form For Summary Execution Victims by Joseph B. Banga by Josefina
B. Banga
3317 | PROOF of Claim Form For Summary Execution Victims by Jorge L. Locsin by Alberto
Locsin
3318 | PROOF of Claim Form For Summary Execution Victims by Pedro B. Pagatpat by Paula
B. Pagatpat
3319 | PROOF of Claim Form For Summary Execution Victims by Roberto V. Sumatra by Meleci
V. Sumatra
3320 PROOF of Claim Form For Summary Execution Victims by Alipia E. Gaffud by Agustina
H. Gaffud
3321 PROOF of Claim Form For Summary Execution Victims by Valdez Agub by Juana T. Agub
3322 | PROOF of Claim Form For Summary Execution Victims by Rufino Coralde by Gaudencia
D, Coralde
3323 | PROOF of Claim Form For Summary Execution Victims by Regaldo S. Balambao by
Primitiva $. Sumagaang-Santiago
3324 | PROOF of Claim Form For Summary Execution Victims by Emelio Vicente by Jovite
Vicente
3325 | PROOF of Claim Form For Summary Execution Victims by Regalado S. Balambao by
Primitiva §. Sumagang-Santiago
3326 | PROOF of Claim Form For Summary Execution Victims by Diosdado Salvaleon by
Cerila Salvaleon
3327 PROOF of Claim Form For Summary Execution Victims by Rudy D. Laput
3328 | PROOF of Claim Form For Summary Execution Victims by Geronimo Lilio Llorente by

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF i DEFENDANT

IN RE: ESTATE OF FERDINAND E.

pockeT no. MDL 840 _

MARCOS HUMAN RIGHTS LITIGATION
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DATE NR. PROCEEDINGS
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Apr 13/3329 |PROOF of Claim Form For Sunmasy Execution Victing by Teotimo @ecana by Leopolda
C. Recana
3330 |PROOF of Claim Form For Summary Execution Victims by Saivader Castor by Divena
Jimenez
3331 |PROOF of Claim Form For Summary Execution Victims by Geofrey Saclote by Nilda
Saclote
3332 |PROOF of Claim Form For Summary Execction Victints by Elesio Alulod by Newyearita
Alulod
3333 PROOF of Claim Form For Summary Execution Victins Ly Alberto ?. Abo-Abo by Leonord
Abo-dbe ;
3334 |PROOF of Claim Form For Summary Execution Victims by Timetzo Isyang by Vidal
Isyang
3335 |PROOF of Claim Form For Summary Execution Victims by Reynadlo Millan by Aida Milan
3335 |PROOF of Claim Form For Summary Execution Victims by Fernando C. Cantos by Flores
D. Cantos
3337 |PROOF of Claim fora For Summary Execution Victims by Jaime Gandamon by Galvin
Gandamon
3333 {PROOF of Claim Form For Summary Execution Victius by Demingo 38. Popena by Celering
. A. Lopena
3333 |PROOF of Claim Fora For Summary Zxecution Victins by Rogelio Dagpin by Hermeneldilld
Dagpin
3340 |PROOF of Claim Form For Summary Execution Victims by Victorio Anggot by Teresita
Anggoc
3341 (PROOF of Claim Form For Summary Execution Victims by Yomeo D. Camprecino by
Greeercia 3. Campecing
3342 |PROOF of Claim Form For Summary Execution Vietime hy Dominader C. Calimutan by
i Georgia C. Sebue
3343 |PROOF of Claim Form For Summary Execution Victims by Maximo: Sumimpan by Felipa
Talaro
3344 |PROOF of Claim Form For Summary Execution Victims by So¢rares Hamdy by Editha
: Hamdy
3345 |PROOF of Claim Form For Summary Execution Victims vy Rolando Lipio by Marites
Lipis Glavecillas
3346 | PROOF of Claim Form For Summary Execution Victims by Akmad Laya by Dawi Laya
3347 |PROOF of Claim Form For Sumiary Execution Victime by Romea G. Ginaga Sy Norma
a ooo tots
3348 PROOF s?/Glaim Porm For Summary Execution Victims by Romeo Grinaga by Norma Gra jo
Grinaga a
3349 /PROOF of Claim Form For Summary Execution Victims by Mequel Navarro by Letticia
Navarro Dagumboy
3350 |PROOF of Claim Form For Summary Execution Victims by Benny Bannar.. by Busac Bannar
| 3351 |PROOF of Claim Form For Summary Execution Victims by Juanite T. Budiongan by
trenea. Budiongan. Se '
! 3352 |PROOF of Claim Form For Summary Execution Victims by Luis Oliberon
3353 |PROOF of Claim Form For Summary Execution Victims by Manuel,L, Tan by, Jesus Tan
3354 |PROOF of Claim Form For Summary Execution Victims by Gemino Sacrie by Santiago C,
fou,  Hacale Som Lt ra fot LOenom. Pon. dt tS .
3355 (PROOF of Claim Form For Summary Execution Victime by Placido S. Domingo by Nieves
Dominga La Lew. .
3356 |PROOF of Claim Form For Summary Execution Victims by Vicencio Orcales by Agripina
Villaron Orcales cepts fo,
| 3357 | PROOF of Claim Form For Summary Execution Victims by Pedre Halasan by Epifania
: Halasan See Page i35

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFE REFENDANT
pocket No. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS; HUMAN RIGHTS LITIGATION
/ PAGE 1350r_ PAGES:
DATE NR, PROCEEDINGS
1999
Apr 13 3358 | PROOF of Claim Form For Summary Execution Victims by Yuan V. Yapot by Florita B.
Yapot
3359 | PROOF of Claim Form For Summary Execution Victims by Edvito C. Gallego, Sr. by
Reparata C. Gallego
3360 | PROOF of Claim Form For Summary Execution Victims by Fernando C. Pastor, Jr. by
Cristeta C. Pastor
3361 | PROOF of Claim Form For Summary Execution Victims by Gabriel H, Slazar by Dionici;
G. Salazar
3362 | PROOF of Claim Form For Summary Execution Victims by Pedro P. Recio by Bella Reci:
3363 | PROOF of Claim Form For Summary Execution Victims by Leonita 0. Cruzat by Delfin
Cruzat
| 3364 PROOF of Claim Form For Summary Execution Victims by Rameroe C. Rivera by Virginia
Cc. Rivera
3365 | PROOF of Claim Form For Summary Execution Victims by Charlie A. Amurag by Hazelin
A. Amurao
3366 | PROOF of Claim Form For Summary Execution Victims by Clemente Langco Samulde by
Purificacion C. Samulde
3367 | PROOF of Claim Form For Summary Execution Victims by Martin G. Bacalso by Pablo
Bacalao
3368 | PROOF of Claim Form For Summary Execution Victims by Pio A. Allesa by Juan Allesa
3369 PROOF of Claim Form For Summary Execution Victims by Abner Biadora Varon by
Giriaco V. Biadora, Sr.
3370 | PROOF of Claim Form For Summary Execution Victims by George C. Montemor by
Fedencia C. Montemor
3371 | PROOF of Claim Form For Summary Execution Victims by Edwii Gomez Mascarinas by
Trinidad G. Mascarinas
3372 | PROOF of Claim Form For Summary Execution Victims by Nina eslit by Lydia R.
Cabural
3373 | PROOF of Claim Form For Summary Execution Victims by Guillermo B. Sumatra by
Melecia V. Sumatra
3374 | PROOF of Claim Form For Summary Execution Victims by Antongan Edzrail by Kamis
Kamakan Edzrail
3375 | PROOF of Claim Form For Summary Execution Victims by Ceferino A. Tagalo by Leonar
. T. Tagalo
3376 | PROOF of Claim Form For Summary Execution Victims by Guilberto B. Astillo by
Pacita B. Astillo
3377 | PROOF of Claim Form For Summary Execution Victims by Arsinio Miguel Balanay by
Mercilina Evangelista
3378 | PROOF of Claim Form For Summary Execution Victims by Jessie Peralta Y Ganiban by
Mercinia Evangelista
3379 | PROOF of Claim Form For Summary Execution Victims by Jaime Chua Agustin by Rosell
A. Agustin
3380 | PROOF of Claim Form For Summary Execution Victims by Sidoro B. Cordero by
Florencia C. Jacobe
3381 | PROOF of Claim Form For Summary Execution Victims by Pasandalan Lagasan by
Guialadil Pasandalan
3382 | PROOF of Claim Form For Summary Execution Victims by Tarsan Mangansakan by
Kampi Mangansakan
3383 | PROOF of Claim Form For Summary Execution Victims by Daganday Tugkiyas by Tintin:
Tugkiyas
3384 | PROOF of Claim Form For Summary Execution Victims Sy Guinaludin B. Ambag by

Ronaldo B. Ambag
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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF i CEFENDOANT

‘IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION .
| PAGE 13 for PAGES

DATE | NR. PROCEEDINGS

1999
Apr 13 3385 | PROOF of Claim Form For Summary Execution Victims by Pingcol Abdul & Pamansag
Abdul by Pagi Abdul
3386 | PROOF of Claim Form For Summary Execution Victims by Slaban Silongan by Manalasal
Mancayao
3387 | PROOF of Claim Form For Summary Execution Victims by Abdul Manglongan by Sultan
Mang longan
3388 | PROOF of Claim Form For Summary Execution Victims by Nanawn’ Bacana by Suma A. Bacar
3389 | PROOF of Claim Form For Summary Execution Victims by Rurino Marcos by Julie Marcod
3390 | PROOF:of Claim Form For Summary Execution Victims by William Ternora by Fely
Ternora
3391 | PROOF of Claim Form For Summary Execution Victims by Carlos Ternora by Fely
Ternora
3392 PROOF of Claim Form For Summary Execution Victims by Doreteo Sevillas CGcenar by
Auria B. Ocenar
3393 PROOF of Claim Form For Summary Execution Victims by Esmaei Rambac by Estrelita
Rambac
3394 (PROOF of Claim Form For Summary Execution Victims by Felix C. Bambin by Maria
Bambin
3395 PROOF of Claim Form For Summary Execution Victims by Carmelito Tatlonghari
3396 /PROOF of Claim Form For Summary Execution Victims by Savinar Dominador Esteban by
Davinar Esteban ,

3397 |PROOF of Claim Form For Summary Execution Victims by Bartolome Alcantara by
Estrelita M. Alcantara -

3398 [PROOF of Claim Form For Summary Execution Victims by Alberto S. Villegas by
Tessie P. Villegas ,

3399 (PROOF of Claim Form For Summary Execution Victims by Alberto Libayo Desolo by
Simeon E. Desolo

3400 |PROOF of Claim Form For Summary Execution Victims by Job E. Ernacio by Josue F.
Ernacio ,

3401 |PROOF of Claim Form For Summary Execution Victims by Sangutin Gialal by Sakim

Guialal
3402 |PROOF of Claim Form For Summary Execution Victims by Sulaida Sangutin by Sakim

Guialal

3403 PROOF of Claim Form For Summary Execution Victims by Saiyan Gialal by Dalamoti
Payut

3404 | PROOF of Claim Form For Summary Execution Victims by Omar Lucman by Mariam Had ji
Rahim :

3405 |PROOF of Claim Form For Summary Execution Victims by Concardio Agustin Makanag by
Avelina A. Mabanac

3406 PROOF of Claim Form For Summary Execution Victims by Usman Musa by Malgian Musa
3407 | PROOF of Claim Form For Summary Execution Victims by Zaylon Silongan by Abdula
Silongan

3408 |PROOF of Claim Form For Summary Execution Victims by Dandowa Alipolo by Anggo
Alipalo .

3409 PROOF of Claim Form For Summary Execution Victims by Melito Tierra Glor by Gloria
T. Glor

3410 |PROOF of Ciaim Form For Summary Execution Victims by Florance P. Simon by Aurora
G. Simon

3441 |PROOF of Ulaia fora For Summary Execution Vicrims by Roger Ebag Eapasis by Dionesila
Empasis Martin

3412 PROOF of Claim Form For Summary Execution Victims by Fernando Mellane by Leonora
Melano

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PLAINTIFF DEFENDANT
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION . las
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DATE NR. PROCEEDINGS
To99
Apr 13/3413 PROOF of Claim Form For Summary Execution Victims by Nicolas M. Alalia by
Josephine C. Olalia . :
3414 PROOF of Claim Form For Summary Execution Victims by Pinangkong Macayao by
Manalasal Macayo oe
3415 |PROOF of Claim Form For Summary Execution Victims by Buan B. Kaiyagan by Betol L.
Kaliyagan 1 ant
3416 PROOF of Claim Form For Summary Execution Victims by Uliliseen Palalisan by Pailan
. Sansavi . . Loar She
3417 PROOF of Claim Form For. Summary Execution Victims by Makamad Lumanda
3418 PROOF of Claim Form For Summary Execution Victims by Lumagan.Mabpinantao
3419 PROOF of Claim Form For Summary Execution Victims by Lanao Pito
3420 PROOF of Claim Form For Summary Execution Victims by Talatog Pasandalan by
Guiamaldi Pasandalan . oy
3421 PROOF of Claim Form For Summary Execution Victims by Jaime P. Algo by Pacinta A,
: Algo. .
3422 PROOF of Claim Form For Summary Execution Victims by Inigo Campo Basilia by
_ Felecisima A. Basilia. . .
3423 PROOF of Claim Form For Summary Execution Victims by Loreto 3B. Guab, Jr. by Aurea ©
B. Guab .
3424 (PROOF of Claim Form For Summary Execution Victims by Bartolome A. -Galope by Edilbe:
Galope cee .
3425 PROOF of Claim Form For Summary Execution Victims by Cisar §. Bancelo by Ana 8.
Barcelo .
3426 PROOF of Claim Form For Summary Execution Victims by Heldigunda D. Adrias by
Herman D. Adrias
3427 PROOF of Claim Form For Summary Execution Victims by Soledad N. Salvador by Helen
N. Salvador .,
3428 PROOF of Claim Form For Summary Execution Victims by Mario H. Hagos by Domingo 8.
Hagos Sr. .
3429 PROOF of Claim Form For Summary Execution Victims by Florentino Pedro by Lilia
RB. Pedro .
343G |PROOF of Claim Form For Summary Execution Victims by Jovito Cedeno by Liberata
Cedeno
3431 PROOF of Claim Form For Summary Execution Victims by Lolita Montero Allesa by
Rodolfo A. Allesa
3432 PROOF of Claim Form For Summary Execution Victims by Roque V. Roble by Dionisio
Roble
3433 PROOF of Claim Form For Summary Execution Victims by Benecio Regalado by Julieta
Regalado
3434 PROOF of Claim Form For Summary Execution Victims by Fernando T. Pastor, Sr. by
Cristeta C. Pastor
3435 PROOF of Claim Form For Summary Execution Victims by Arthur R. Antipuesto by
Jocelyn Taec-An
3436 PROOF of Claim Form For Summary Execution Victims by Petra A Afable by Caridad
A. Afable -
3437 PROOF of Claim Form For Summary Execution Victims by Petre Gaila by Carmen 5B. Gala
3438 PROOF of Claim Form For Summary Execution Victims by Medare Godelosao by Anastacie
H. Godelosao
3439 PROOF of Claim Form For Summary Execution Victims by Benito C. Zacale by Jovita C.
Tacate
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PLAINTIFF DEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

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PAGES
DATE NR, PROCEEDINGS
1999
Apr 13 3440 | PROOF of Claim form Por Torture, Summary Execution and Disappearance Victims by
Concepcion Arceo Montelibano
3441 | Statement by Catalina Longeob
3442 | Statement by Andres Luta
3443 | Statement by Alejandro L. Maranga
3444 | Statement by Sergio Dumencel
3445 | Statement by Gina Beningay
3446 | Statement: by Lydia Ronda Cabural
3447 (Statement by Aspacio remedios
3448 | PROOF of Claim Form For TortureVictims by Rhodora Roxas~Hurtuda °
3449 | PROOF of Claim Form For Torture Victims by Lourdes D. Repuno
3456 | PROOF of Claim Form For Summary Execution Victims by Vladimir Abelard Roxas
Hurtado by Rhodora Roxas Hurtada
14 3451 | PROOF of Claim Form For Torture Victims by Emeliano Jacla, Deceased by Matilde
Jacila
3452 PROOF of Claim Form For Torture Victims by Ernesto Bacalan Scenar
3453 | PROOF of Claim Form For Torture Victims by Emenson’ R.' Supsupin, Elpidio R.
Supsupin by Perla R. Supsupin
3454 | PROOF of Claim Form For Torture Victins by Alfredo R. Tangonan
3455 |PROOF of Claim Form For Torture Victims by Bonifacio AL Abancia, Deceased by
Basilisa ¥. Abancia
3456 | PROOF of Claim Form For Tarture Victims by Paquito Bertolfo, Deceased by Marianetd
Roca sO, : ee TR ee '
3457 | PROOF of Claim Form For Torture Victims by Dominador Mendoza
3458 | PROOF of Claim Form For Torture Victims by Cristal Cacal
3459 | PROOF of Claim Form For Torture Victins by Linda Padre Baquiran
3460 |PROOF of Claim Form For Torture Victims by Balbino C. Harga
3461 | PROOF of Claim Form For Torture Victims by Jaime:Lominoque Bacarra
3462 | PROOF of Claim Form For Torture Victims by Joseph Edwin P. Tarroza
3463 | PROOF of Claim Form For Torture Victims by Rudolfo 8. Dacanay, Deceased by Loreta
D, Dacanay -
3464 | PROOF of Claim Form For Torture Victims by Juanita Lominoque Bacarra
3465 | PROOF of Claim Form For Torture Victims by Olpiano Velasco
3466 | PROOF of Claim Form For Torture Victims by Romeo ¢. Abunguna
3467 |PROOF of Claim Form For Torture Victims by Alejandro Gabiana
3468 PROOF of Claim Form For Torture Victims by Ben jamen B. Cabrales, Deceased by
Ruel L. Cabrales : : :
3469 |PROOF of Claim Form For Torture Victims by Teresita C. Gabuay
3470 | PROOF of Claim Form For Torture Victims by Moises M. Cantos ot
3471 |PROOF of Claim Form For Torture Victims by Sotera I. Obingayan
3472 |PROOF of Claim Form For Torture Victims by Andres: Jatomay ~ -. .-
3473 PROOF of Claim Form For Torture Victins by Salvador R.. Repaso
3474 | PROOF of- Claim Form For Torture Victims by George: Tangonan .
3475 |PROOF of Claim Form For Torture Victims by slegfredo A. Banzon
3476 [PROOF of Claim Form For Torture Victims by Alfredo R. Mendoza, Deceased by
- Eugenio A. Mendoza - ve tt Bae cae
3477 |PROOF of Claim Form For Torture Victims by Ernesto E.. Acosta
3478 |PROOF of Claim Form For by Juan 3. Abayan, deceased by Ernesto

Torture
E. Acosta °

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Victims

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PLAINTIFF DEFENDANT
| DOCKET No. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION 139,
| PAGE “= "OF___... PAGES
DATE NR. PROCEEDINGS
1999
Apr 14 | 3479 PROOF of Claim Form. For Torture Victims by Dionisio L. Acosta, Deceased by
Santiago L. Acosta :
3480 | PROOF of Claim Form For Torture Victims by Divina V. Jabolin
3481 | PROOF of Claim Form For Torture Victims by Elpedio lL. Gagbo
3482 | PROOF of Claim Form For Torture Victims by Jaime Tabontabon
3483 | PROOF of Claim Form For Torture Victima by Mario A. Tabontabon
3484 PROOF of Claim Form For Torture Victims by Carlito. R. Tabontabon
3485 | PROOF of Claim Form For Torture Victims by Ariston C. Tabontabon, Deceased by
Gloria T. Quinawayan ts
_ 3486 | PROOF of Claim Form For Torture Victims by Cepriang Pagiwayan, Deceased by
Paciana P. Justol
3487, PROOF of Claim Form For Torture Victims by edecasio $. Palwa, Sr., Deceased by
emelia S$. Palwa
3488 | PROOF of Claim Form For Torture Victims by Norberto Jabolin
| 3489 PROOF of Claim Form For Torture Victims by Pridincio Dacallos
| 3490) PROOF of Claim Form For Torture Victims by Cristobal S$. Arraza
3491 , PROOF of Claim Form For Torture Victims by Vicente Pacayra
3492 | PROOF of Claim Form For Torture Victims by Colita G. Campisano
3493 | PROOF of Claim Form For Torture Victims by Milagros D. Malagoplo
3494 | PROOF. of Claim Form For Torture Victims by Temotia Amongo Afable, Deceased by
Caridad A. Afable
3495 , PROOF of Claim Form For Torture Victims by Carlito D. Termo
3496 } PROOF of Claim Form For Torture Victims by Redelfonso D. Akina
3497 | PROOF of Claim Form For Torture Victims by Jaun Daclag
3498 | PROOF of Claim Form For Torture Victima by Pacincia L. Caballa
3499 | PROOF of Claim Form For Torture Victims by Paulino Domingo
3500 | PROOF of Claim Form For Torture Victims by Armando D. Samba jon
3501 | PROOF of Claim Form For Torture Victims by Diorita C. Mendoza
3502 | PROOF of Claim Form For Torture Victims by Antonio Deche
3503 | PROOF..of Claim Form For Torture Victims by Jaime Drey
3504 | PROOF of Claim Form For Torture Victims by Susana Haboc Grefaldo
3505 | PROOF of Claim Form For Torture Victims by William C. Haboc, Sr.
3506 | PROOF of Claim Form For Torture Victims by Walter H. Minas
3507 | PROOF of Claim Form For Torture Victims by Edgar G. San Pedro
3508 | PROOF of Claim Form For Torture Victims by Rogelio Haboc, 5r.
3509 | PROOF of Claim Form For Torture Victims by Lery Desaliza, Sr.
3510; PROOF of Claim Form For Torture Victims by Ronilo p. Garcia
3511 | PROOF of Claim Form For Torture Victims by Juanito B. Granada
3512 PROOF of Claim Form For Torture Victims by Santiago Clareria Cogayan, Deceased
Floridiliza Taylan
3513 PROOF of Claim Form For Torture Victims by Romulo Bulano, Deceased by Panchita
B. Montealegre
3514 | PROOF of Claim Form For Torture Victims by Juanito B. Granada
3515 | PROOF of Claim Form For Torture Victims by Marcelino P. Parina, Deceased by
‘Rodrigo C. Parina
3516 PROOF of Claim Form For Torture Victims by Delia Aquine Bayotlang
3517 | PROOF of Claim Form For Torture Victims by Eduardo V. Antonio
3518 | PROOF of Claim Form For Torture Victims by Mario M. Javier
3519 | PROOF of Claim Form For Torture Victims by Salud R. Refugio
3520! PROOF of Claim Form For Torture Victims by Crispan Osabal, deceased by Felicitas
M. Osabal
3521 PROOF of Claim Form For Torture Victims by Emilio C. Robles

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PLAINTIFF DEFENDANT
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IN RE: ESTATE OF FERDINAND E, MARCOS | HUMAN RIGHTS LITIGATION
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DATE | NR. PROCEEDINGS

1999
‘Apr 14 (3522 PROOF of Claim Fora For Torture Yictims by Juanito Ramos
3523 | PROOF of Claim Form For Torture Victias by Edito Babacio
3524 | PROOF of Claim Form For Torture Victims by Editha M. Mabilangan
3325 | PROOF of Claim Form For Torture Victims by Marcelino ?o ¥ Jubay, Deceased by
Anastacia G. Po :
3526 | PROOF of Claim Form For Torture Victins by Rostico A. Esotros
3527 | PROOF of Claim Form For Torture Victims by Henry D. Laboc
3528 | PROOF of Claim Form For Torture Victims by Dionesic D. Sayasa, Deceased by Rufino
D. Sayasa
3529 | PROOF of Claim Form For Torture Victims by Sergio G. Gagbo
3530 | PROOF of Claim Form For Yorture Victims by Pedro C. Galecio
3531 (PROOF of Claim Form For Torture Victims by Marcos if. Llinon
3532 | PROOF of Claim Form For Torture Victims by Herminia Castro
3533 | PROOF of Claim Form For Torture Victins by Leodegario BD. Gelito
3534 | PROOF of Claim Form For Torture Victims by Vicente Tanulo
3535 | PROOF of Claim Form For Torture Victims by Carlito L. Velarde
3536 PROOF of Claim Form For Torture Victims by Divina Borres Dumagat
3537 | PROOF of Claim Form For Torture Victims by Leonardo Jabonillo, Deceased by Cristiga
Jabonillo :
3538 | PROOF of Claim Form For Torture Victims by Eulalio Egam
3539 |PROOF of Claim Form For Torture Victims by Florencio Llantos
3540 | PROOF of Claim Form For Torture Victims by Demingo P. Labso, Sr.
3541 |PROOF of Claim Form For Torture Victims by Sergio Osmena, III
3542 | PROOF of Claim Form For Torture Victims by Henry Gilbaliga
3543 | PROOF of Claim Form For Torture Victims by Temario C. Rivera
3544 | PROOF of Claim Form For Torture Victims by Jesus HN. Alcuetas
3545 | PROOF of Claim Form For Torture Victims by Felipe Margate, Deceased by Rosita
M. Lagarto BY Pas .
3546 | PROOF of Claim Form For Torture Victins by Emelio P. Nablo
3547 | PROOF of Claim Form For Torture Victims by Primitvo L. .cabonaygan, Deceased by
Remegio S. Nablo *. - Fo :
3548 | PROOF of Claim Form For Torture Victims by Pedro 0. Roca
3549 | PROCGF of Claim Form For Torture Victias by Siecto- Adiora Alemania, Deceased by
Elvisa Alemania Castillo be , .
3550 |PROOF of Claim Form Fer Torture Victims by Juanito: Caones,. Deceased by. Eduardo
Caones
3551 | PROOF of Claim Form For Torture Victims by Filicisme Manalap, Sr.
3552 | PROOF of Claim Form For Torture Victims hy Lorefe Ann Afable, deceased by Caridad
a. Afable Se ..
3553 PROOF of Claim Form For Torture Victims by Maria Afable Barros, Deceased by
Caridad A. Afable
3554 | PROOF of Claim Form For Torture Victims by Linito L. Gumipat, Cunito L. Gumipat,
Deceased by Quidina G. Basaya
3555 | PROOF of Claim Form For Torture Victims by Agosto Apita Afable, Deceased by
Caridad A. Afable - :
3556 | PROOF of Claim Form For Torture Victims by Piligrin 8. Francisco
3557 | PROOF of Claim Form For Torture Victims by Mare F. Villaviciencio
3558 | PROOF of Claim Form For Torture Victims by Gerardo Quitalig, Deceased by Clarita
Quitalig
3559 PROOF of Claim Form For Torture Victims by Pedro Rebechl
3560 | PROOF of Claim Form For Torture Victims by Teresa L. Beros

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF CEFENDANT

Apr 14 3561 PROOF of Claim Form For Torture Victims by Antonio M. Liao

Juanita E. Yohamon . i
3563 | PROOF of Claim Form For Torture Victims by Eden B. Basado

3568 | PROOF of Claim Form For Torture Victims by Vicente Abainza

3572 | PROOF of Claim Form For Torture Victims by Irenio Padre
. 3573 | PROOF of Claim Form For Torture Victims by Rosmito Padre

3576 | PROOF of Claim Form For Torture Victims by COsme Caongca

3578 | PROOF of Claim Form For Torture Victims by Gertrudo Niclua

3581 | PROOF of Claim Form For Torture Victims by Alberto Nidua

3583 | PROOF of Claim Form For Torture Victims by Celestino Nidua

Cordova

D. Dolosa

T. Gil

Kadalem

Gaton

3604 | PROOF of Claim Form For Disappearance Victims by Jesus M.

Tyo
| See Page 142

3564 | PROOF of Claim Form For Torture Victims by Andres P. Colima

3565 | PROOF of Claim Form For Torture Victims by Marcelino A. Calubid-

3566 PROOF of Claim Form For Torture Victims by Pablo T. Cabuenos
3567 | PROOF of Claim Form For Torture Victims by Rolando Cruz Loredo

_ 3569 | PROOF of Claim Form For Torture Victims by Eddie Estrebillo

3570. PROOF of Claim Form For Torture Victims by Apolonio N. Acedera
357L PROOF of Claim Form For Torture Victims by Rupite C. Ilinon

3577 | PROOF of Claim Form For Torture Victims by Paquito Ca-Ongca

, 3579 | PROOF of Claim Form For Torture Victims by Pastor L. Osabal
3580 | PROOF of Claim Form For Torture Victims by Socorro Balengasa

| 3574 PROOF of Claim Form For Torture Victims by Apolinario Seccina ©
| 3575 | PROOF of Claim Form For Torture Victims by Mysan Sabandal Maquirane

3582 | PROOF of Claim Form For Torture Victims by Diodado D. Ranada

| 3584 | PROOF of Claim Form For Torture Victims by Glicerio V. Sailid
3585 | PROOF of Claim Form For Torture Victims by Ciraco C. Salilid
3586 | PROOF of Claim Form For Torture Victims by Rafael A. Odencio, Jr.
3587 | PROOF of Claim Form For Torture Victims by Roberto Niadridano
3588 | PROOF of Claim Form For Torture Victims by Antonio N. Osabal
3589 | PROOF of Claim Form For Torture Victims by Crispine Bailisan
3590 | PROOF of Claim Form For Torture Victims by Hilario D. Cordova, Deceased by Clara

3591 | PROOF of Claim Form For Torture Victims by Josefino §. Sornito
3592 PROOF of Claim Form For Torture Victims by Josephine §., Ilinon
3593 | PROOF of Claim Form For Torture Victims by Ramon Dolosa, Deceased by Leonor

MDL 840 |
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | OOCRET NO.
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3562 PROOF of Claim Form For Torture Victims by Barangay Rizal, Dolores E. Samar by

3594 | PROOF of Claim Form For Disappearance Victims by Florencia C. Gil by Nicanoria

3595 | PROOF of Claim Form For Disappearance Victims by Sangkupan Musa by Datuan Musa
3596 | PROOF of Claim Form For Disappearance Victims by Bangkailan Kadalem by Abdulsamid

3597 | PROOF of Claim Form For Disappearance Victims by Leopoldo G. Gaton by Tito G.

35398 PROOF of Claim Form For Disappearance Victims by Ricardo Baez by Piligrina §. Bae
3599 | PROOF of Claim Form For Disappearance Victims by Lucio Bula by Violeta B. Chinell
3600 PROOF of Claim Form For Disappearance Victims by Henry Romero by Paula 8. Romero
3601 | PROOF of Claim Form For Disappearance Victims by Henry Romero by Paula S. Romero
3602 | PROOF of Claim Form For Disappearance Victims by Zainudina Kamarudino

3603 PROOF of Claim Form For Disappearance Victims by Kabagani Kalasuma
Tye, Jr. by Erlinda M.

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT :
- | pocker No. MDL _840_
IN RE: ESTATE OF FERDINAND FE. MARCOS [HUMAN RICHTS LITIGATION I
| pace 142or___ paces
DATE NR. PROCEEDINGS
1999
Apr 14 (3605 | PROOF of Claim Form For Disappearance Victims by Jesus M. Iyo, Jr. by Erlinda M.
Iyo
3606 | PROOF of Claim Form For Disappearance Victims by Jesus M. Iyo, Jr. by Erlinda M.
Tyo
3607 | PROOF of Claim Form For Disappearance Victims by Rosita D. Labong
3608 | PROOF of Claim Form For Disappearance Victims by Welfredo 3. Bulan, Deceased by
Tarcelita B. Belardo
3609 | PROOF of Claim Form For Disappearance Victims by Quirico Calido
3610 | PROOF of Claim Form For Disappearance Victims by Isidro S,. Rebato, Deceased by
Segunda P. Rebato
3611 | PROOF of Claim Form For Disappearance Victims by. Recto P, Rebato,. Deceased by
Loreta P. Rebato
3612 | PROOF of Claim Form For Disappearance. Victims by Ernesto. Jocosol, Deceased by
Adela Legria-Jocosol
3613 | PROOF of Claim Form For Disappearance Victims by Rodolfo M. Rebato, Deceased by
Narcisa P. Rabato La. .
3614 PROOF of Claim Form For Disappearance Victims by Lunding P. rebato by Porferio P.
Rebato . . . Lo
.3615 PROOF of Claim Form For Disappearance Victims by Domingo P. Rebato by Violeta D.
Rebato : . , . ,
3616 | PROOF of Claim Form For Disappearance Victims by Telso R. Pecenio by Epegenia M.
-Pacenio .
3617 | PROOF of Claim Form For Disappearance Victims by Narciso. Alegria by Manueta
Jaromay . .
3618 | PROOF of Claim Form For Summary Execution Victims by Roque Mayon by Dolores Mayon
3619 | PROOF of Claim Form For Summary Execution Victims by Marciel Labong by Clara Laboks
3620 | PROOF of Claim Form For Summary Execution Victims by Romio Cabangunay by Beatriz
. Cabangunay fon - , . .
3621 | PROOF of Claim Form For Summary Execution Victims. by Benedicto Abawag Mabilangan
3622 | PROOF of Claim Form For Summary Execution, Victims by Armando E. Mabilangan by
Benedicto A. Mabilangan
3623 | PROOF of Claim Form For Summary Execution: Victims-by Ernisto Balundo by Rita B,
Pabonan :
3624 | PROOF of Claim Form For. Summary Execution Victims by Sammy Sarceno by Remegilda
Sarceno ot : . .
3625 | PROOF of Claim Form For Summary Execution Victims by BeniunaDO Yersoza by Lolita
Versoza
3626 | PROOF of Claim Form For Summary. Execution Vietims.5y Bienvenido 0. Noble by Benita
U. Nable
3627 | PROOF of Claim Form For Sutunary. Execution. Victims: by Emelio: G..Quebec by Jose G.
Quebec
3628 | PROOF of Claim Form For Summary Execution Vierims by Juan Salingsing by Iliminada
G. Salingsing
3629 , PROOF of Claim Form For Summary Execution Victims by Nemercio. G. Mabanan by Lourdeés
. Mabanan
3630 PROOF of Claim Form For Summary Execution Victims by Herminigilda D. Dacara by
. Fidel DBD. Dacara
3631 | PROOF of Claim Form For Summary Executicn Victims. by Lereta Mabini Pabua by
Clarita Pabua Abando i .
3€32 | PROOF of. Claim Form For Summary Execution Victims by Bagyen M. Tubban
3633 | PROOF of Claim Form For Summary Execution Victims by Ramon DBD. Nogales by Gaudiose
D. Nogales
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PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS

OCEFENDANT

HUMAN RIGHTS LITIGATION

DOCKET NO. MDL 840 —

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DATE NR. PROCEEDINGS
1999
Apr 14 | 3634 PROOF of Claim Form For Summary Execution Victims by Reynaldo F. Daquioag by Agnes
F. Daquioag
3635 | PROOF of Claim Form For Summary Execution Victims by Edwin B. Concepcion by Teodor
B. Concepcion
3636 | PROOF of Claim Form For Summary Execution Victims by Bernaldo Estanislao by Remedi
For jes : :
3637 | PROOF of Claim Form For Summary Execution Victims by Mama Gadong by Kader Gadong
3638 | PROOF of Claim Form For Summary Execution Victims by Luis M Liao by Antonio M.
Liao
3639 PROOF of Claim Form For Summary Execution Victims by Brahim Salasa by Ismael Salak
3640 PROOF of Claim Form For Summary Execution Victims by Oting Gadong by Karia Gadong
3641 PROOF of Claim Form For Summary Execution Victims by Noel Pamari jos
3642 | PROOF of Claim Form For Summary Execution Victims by Dionesio Obiena by Gregorio
3643 PROOF of Claim Form For Summary Execution Victims by Maximo Guda by Alejandra Gui
Be jasa
3644 | PROOF of Claim Form For Summary Execution Victims by. Juanito Obiena by Gregorio
Obiena :
3645 | PROOF of Claim Form For Summary Execution Victims by Glecerio Obiena by Gregorio
Obiena
3646 | PROOF of Claim Form For Summary Execution Victims by Fedasto Agote by Inocencia
Agote Trangia
3647 | PROOF of Claim Form For Summary Execution Victims by Patricio Jacutina by Gloria
Jacutina Bacuetes : : .
3648 | PROOF of Claim Form For Summary Execution Victims by Rosenda Mabutol by Santos
Mabutal a
3649 | PROOF of Claim Form For Summary Execution Victims by Arnolfo P. Sison by Vicente
G. Sison
3650 | PROOF of Claim Form For Summary Execution Victims by Reginaldo Fabria Davantes
by Deogracias C. Davantes, Jr.
3651 | PROOF of Claim Form For Summary Execution Victims by Vaeriano V. Labajo, Jr. by
Alejandra V. Labajo
3652 | PROOF of Claim Form For Summary Execution Victims by Juanito L. Mabahin by Eleute
G. Mabahin
3653 PROOF of Claim Form For Summary Execution Victims by Benvenedo Abauag Mabilangan
by Ceriaca Bersola Mabilangan
3654 PROOF of Claim Form For Summary Execution Victims by Sofronio Gabom & Bebiama
Gabom by Demetrio B. Gabom
3655 | PROOF of Claim Form For Summary Execution Victims by Charito Cabangunay by
Beatriz Cabangunay .
3656 | PROOF of Claim Form For Summary Execution Victims by Pelagid L[linon by Emeteria
Tlinon
3657 PROOF of Claim Form For Summary Execution Victims by Noel A. Payeana by Ariec
Paycana -
3658 | PROOF of Claim Form For Summary Execution Victims by Leo Mabanan by Juan Mabanan
3659 | PROOF of Claim Form For Summary Execution Victims by Teofilo L. Gil by Marcial
L. Gil
3660 | PROOF of Claim Form For Summary Execution Victims by Jerry Isiao by Rodela Islao
3661 | PROOF of Claim Form For Summary Execution Victims by Ulysis Tenorio Ambucay by
Susan 0. Francisco
3662 | PROOF of Claim Form For Summary Execution Victims by Joelito Barrientos by
Warlito B. Tambo-Ong
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ew. 175) PagelD.182
CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
: | pocKET No. MDL 840 _
IN RE: ESTATE OF FERDINAND E. MARCOS |HUMAN RIGHTS LITIGATION
| PAGE L44or__ paces
DATE NR. | PROCEEDINGS
1999
Apr 14 13663 PROOF of Claim Form For Summary Execution Victims by Marcelo Bade by Cecilia Bade
3664 |PROOF of Glaim Form For Summary Execution Victims by Ernesto Palmones by Thelma
Villate Palmones
3665 | PROOF of Claim Form For Summary Execution Victims by Rolando M. Castro by Venancid
R. Castro
3666 | PROOF of Claim Form For Summary Execution Victims by Carmilito Hrola by Rudy D.
Hrola
3667 | PROOF of Glaim Form For Summary Execution Victims by Regino Sintos & Joselito
Sintos by Carolina Sintos
3668 (PROOF of Claim Form For Summary Execution Victims by Bonifacio Villarta by Gerardd
Villarta
3669 | PROOF of Claim Form For Summary Execution Victims by Petra A. Afable by Caridad A]
Afable
3670 | PROOF of Claim Form For Summary Execution Victims by Teodolfo Balendres by Pacita
T. Balendres
3671 |; PROOF of Claim Form For Summary Execution Victims by Proseso F. Daquidag by Agnes
FP. Daquidag
3672 ) PROOF of Claim Form For Summary Execution Victims by Tomas Encomenda by Angelina
Montilla
3673 | PROOF of Claim Form For Summary Execution Victims by Victorino Dayday by Domingo
_, Dayday
3674 PROOF of Claim Form For Summary Execution Victims by Restituto B. Colima by Jaime
B. Colima
3675 | PROOF of Claim Form For Summary Execution Victims by Felix Talecio A. Julom by
Inocenta Julom —
3676 | PROOF of Claim Form For Summary Execution Victims by Efren Cid Pialane by Domingo
Cid Plalane
3677 | PROOF of Claim Form For Summary Execution Victims by Felipe Caba;hao by Fedelina
Cabalhao . . .
3678 {PROOF of Claim Form For Summary Execution Victims by Damilo D. Gabrito by Gloria
Gabrito .
3679 | PROOF of Claim Form For Summary Execution Victims by Teofilo c. Compania by
Lourdes J. Compania
3680 PROOF of Claim Form For Summary Execution Victims by Felipe M. Bantilo by Lucia
B. Pinca
3681 | PROOF of Claim Form For Summary Execution Victims by Fernando L. Batulang by Emelio
P. Nablo
3682 (PROOF of Claim Form For Summary Execution Victims by Madidis Onta Bulanan by Esmail
Nadidis :
3683 PROOF of Claim Form For Summary Execution Victims by Omal Sanid by Kali Sanid
3684 | PROOF of Claim Form For Summary Execution Victims by Mama Sumensil by Mamedtig
Sumensil
3685 | PROOF of Claim Form For Summary Execution Victims by Porferio L. Batulang by Emelio
P. Nablo
3686 | PROOF of Claim Form For Summary Execution Victims by Celedino C. Ramoso by Florante
C.. Ramoso, Sr.
3687 |Notice of Filing Original Declaration of Fidel V. Agcaoili, Of Which A True And
Correct Copy Was Filed With Notice of Intent ‘To Appear And Objections Filed
By Certain Class Members To The Proposed Settlement; Declarations of Carol
Sobel, Fidel V. Agcaoili - on behalf of Objectors Fidel Agcaoili, Juliete
de Lima Sison, Reverend Cesar Taguba, Celsa Hilao, Adora Faye De Vera, Arturd
Revilla, Renato Pineda, Jose Duran and Paula Romero - [Cv 86~16145 UHilao)]
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PLAINTIFF

. DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

pocKkeT no. MDL 840

PAGES

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PAGE 1450F
DATE NR PROCEEDINGS
1999
Apr 15 3688 | Certificate of Service By Mail - [Relates to All Actions]
| 3689 | Joinder of the Estates of Melvin M. Belli and Caeser M. Belli In Application For
Fees From Class Settlement By Brown, Fabro & Scarlett And Belli & McLean -
on behalf of the Bankruptcy Estates of Melvin M. Belli and Caeser M. Belli
~- [Relates to All Actions]
3690 Declaration of David E. Lyon In Support of Joinder in Application For. Fees From
Class Settlement by Brown, Fabro & Scarlett And Belli & McLean - on behalf o
-the Bankruptcy Estates of Melvin M. Belli and Caeser M. Belli
/ 3691 PROOF of Claim Form For Torture Victims by Brian Gore
3692 | PROOF of Claim Form For Torture Victims by Edgar Laureta
3693 PROOF of Claim Form For Torture Victims by Romulo Silva
3694 PROOF of Claim Form For Torture Victims by Alfredo Ponce Mercado:
3695 | PROOF of Claim Form For Torture Victims by Alfredo Ponce Mercado
3696 PROOF’ of Claim Form For Torture Victims by Alfredo Ponce Mercado
/ 3697 , PROOF of Claim Form For Torture Victims by Teresita E. Mercado
3698 | PROOF of Claim Form For Torture Victims by Teresita E. Mercado -
3699 PROOF of Claim Form For Torture Victims by Teresita E. Mercado
3700 PROOF of Claim Form For Torture Victims by Junio M. Ragragio
3701 | PROOF of Claim Form For Torture Victims by Alfredo Ponce Mercado i
| 3702 PROOF of Claim Form For Torture Victims by Teresita E. Mercado
3703 | PROOF of Claim Form For Torture Victims by Mario Tallorin Surbona, Deceased by
: Antonio 5. Surbona
3704 PROOF of Claim Form For Torture Victims by Edezer M. Delos Trinos
3705 PROOF of Claim Form For Torture Victims by Cesar'G. Gojar, Deceased by Estefania |
3706 PROOF of Claim Form For Torture Victims by Alberto’V, David, Jr. :
3707 | PROOF of Claim Form For Torture Victims by Paterno D. Destura
3708 | PROOF of Claim Form For Torture Victims by Agripino C. Caneos, Jr.
| 3709 PROOF of Claim Form For Torture Victims by Ronaldo B. Del Prada
3710 | PROOF of Claim Form For Torture Victims by Manuel L. Pelias
3711 | PROOF of Claim Form For Torture Victims by Cecelio Cloa
3712 | PROOF of Claim Form For Torture Victims by Juanito Villarin, Deceased by Antonio
Villarin and Guadalupe Fin Villarin :
3713 PROOF of Claim Form For Torture Victims by Raymundo M. Abano-
3714 | PROOF of Claim Form For Torture Victims by Santiago Claveria Cagayan by Flordeliz
A. Laylan .
3715 | PROOF of Claim Form For Torture Victims by Manuel Reyes Cruz
3716 | PROOF of Claim Form For Torture Victims by Leonila Rombaoa Benicta
3717 ; PROOF of Claim Form For Torture Victims by Allan Villano Ramos
3718 | PROOF of Claim Form For Torture Victims by Domingo G. Gallamaso
3719 PROOF of Claim Form For Torture Victims by Rolando S$. Vega
3720 | PROOF of Claim Form For Torture Victims by Isidro G. Arenas, Deceased by Alfredo
Arenas
3721 | PROOF of Claim Form For Torture Victims by Jesus M. Cellano, Jr.
3722 | PROOF of Claim Form For Torture Victims by Benjamin Millares, Deceased by Annie
C. Millares
3723 | PROOF of Claim Form For Torture Victims by Victor M. Gonzales
3724 | PROOF of Claim Form For Torture Victims by Rodolfo L. Keesey, Jr. by Porfiria
L. Keesey ,
3725 PROOF of Claim Form For Torture Victims by Domingo R. Ga;;irigan
3726 | PROOF of Claim Form For Torture Victims by Loretta Ann P. Rosales

